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 8                    IN THE UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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   SHENZHEN BOLONG                              Case No. 3:21-cv-1524-GPC-RBB
11 TECHNOLOGY CO. LTD.,
12                Plaintiff,                    ORDER GRANTING JOINT
                                                MOTION FOR APPROVAL OF
13         v.                                   STIPULATION REGARDING
14                                              DEADLINE FOR BLISSLIGHTS
     BLISSLIGHTS LLC                            LLC’S RESPONSE TO PLAINTIFF’S
15                         Defendant.           COMPLAINT
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19         The Court having considered the parties’ joint motion for extension of time to
20   respond to Plaintiff’s Complaint, ECF No. 11, and good cause being shown, IT IS
21   HEREBY ORDERED that the motion is GRANTED. Defendant shall move, answer,
22   or otherwise respond to Plaintiff’s Complaint on or before December 20, 2021.
23         IT IS SO ORDERED.
24   Dated: December 2, 2021
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                                                           Case No. 3:21-cv-1524-GPC-RBB
